
In re Hughes, Lynn B. Jr.; — Plaintiff; Applying for Petition for Permanent Resignation from the Practice of Law in Lieu of Discipline.
ORDER
The Office of Disciplinary Counsel (“ODC”) commenced an investigation into numerous complaints of serious professional misconduct filed against respondent, including his conversion of client and third-party funds. Respondent now seeks to permanently resign from the practice of law in lieu of discipline. The ODC has concurred in respondent’s petition.
Having considered the Petition for Permanent Resignation from the Practice of Law filed by Lynn B. Hughes, Jr., Louisiana Bar Roll number 7082, and the concurrence thereto filed by the ODC,
IT IS ORDERED that the request of Lynn B. Hughes, Jr. for permanent resignation in lieu of discipline be and is hereby granted, pursuant to Supreme Court Rule XIX, § 20.1 and Rule 5.5(c) of the Rules of Professional Conduct, as amended March 24, 2004.
IT IS FURTHER ORDERED that Lynn B. Hughes, Jr. shall be permanently prohibited from practicing law in Louisiana or in any other jurisdiction in which he is admitted to the practice of law; shall be permanently prohibited from seeking readmission to the practice of law in this state or in any other jurisdiction in which he is admitted; and shall be permanently prohibited from seeking admission to the practice of law in any jurisdiction.
/s/ Pascal F, Calogero, Jr. Justice, Supreme Court of Louisiana
